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                                                                                                               Exhibit A


          Edwin Aiwax.ian (SB1V 232943)
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        4 I Atrarneysfvr Plaintiff                                                     ~E~ 2 4 2021
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                                                                                                 Nerrera,
        f                                                                          BY' TanYa              De"

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        8                   SUPERIOR Ct)URT OF 71`HE STATE OF CALIFORNIA
        9                               FOR TI3E COUNTY OF LOS ANGELES
       10 JEANNIE MONARREZ individually, and. on                Case No.:       2 1 S T C V ~ 7215
          betialf of other tnembers of the general public
       11 similarly situated;                                   CLASS ACTION COMPLAINT FOR
                                                                DAMAGES
       1.2                Plaintiff,
                                                                 (1) Violation of California Labor Code
       1.3         vs.                                               §§ 510 and 1198 (Unpaid
                                                                     tJvertime);
       14 C.ENTERRA GROUP, LLC, an unknown                       (2) Violation of California Labor Code
           business entity; CENTERRA SERVICES                        §§ 226.7 and 512(a) (Unpaid Meal
       15 IN'I'ERNATIONAL, INC., an unknourn                         Period Premiums);
           business entity; WACKEI'+1H.UT SERVICES,              (3) Violation ol'California Labor Code
       16) INC:, an unknown business entity; G4S                     § 226.7 (Unpaid Rest Period
           GOV.ERNMENT
            GOV.ERNMENT SOLY.ITIONS; INC:, an                        Preiniums);
       17 unknoNvn business entity; and DC?ES I                  (4) Violation of California Labor Code
           through 100, inclusive,                                   §§ 7194, 1197, and 1197.1 (Unpaid
       18                                                            IVlinimum Wages);
                          Detendants.                            (5) Violation of California Labor Code
       19                                                            §§ 201 and 202 (Final Wa.ges Not
                                                                     Timely Paid);
       20                                                       (6) Violation of California Labor Code
                                                                     § 204 (Wages Not Tiniely Paid
       21                                                            During. Employment);
                                                                (7) Violation of California Labor Code
       22                                                            § 226(a) (Non-Compliant Wage
                                                                     Statements);
       23                                                       (8) Violation of Califgrnia Labor Code
                                                                     § 1174(d) (Failure To Keep
       24                                                            Requisite Payroll Records);
                                                                (9) Violation.ofCalifornia Labor Code
       25                                                            §§ 2800 and 2802 (Unreimbursed
                                                                     Business Expenses);
      26                                                        (10) Violation ofCalifornia Busi7iess &
                                                                     Professions Code §§ 17200: .et seq.
      27
                                                                DEMAND FOR JURY TRIAL
      28



                                     CLASS ACTION COtv(PLAINT'AND DRNIANp FOR JUR1P TRIAL


                                                                                                               Exhibit A
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       1           COMES NOW, Plaintiff JEANNIE MONARREZ ("Plaintiff'), individually, and on
       2   behalf of other members of the general public similarly situated, and alleges as follows:
       3                                    JURISDICTION AND VENUE
       4           1.      This class action is brought pursuant to the California Code of Civil Procedure
       5   section 382. The monetary damages and restitution sought by Plaintiff exceeds the minimal
       6   jurisdiction limits of the Superior Court and will be established according to proof at trial. The
       7   "amount in controversy" for the named Plaintiff, including but not limited to claims for
       8 compensatory damages, restitution, penalties, wages, premium pay, and pro rata share of
       9   attorneys' fees, is less than seventy-five thousand dollars ($75,000).
      10           2.      This Court has jurisdiction over this action pursuant to the California

           I Constitution, Article VI, Section 10, which grants the superior court "original jurisdiction in all

           other causes" except those given by statute to other courts. The statutes under which this

           action is brought do not specify any other basis for jurisdiction.

                   3.      This Court has jurisdiction over Defendants because, upon information and

           belief, Defendants are citizens of California, have sufficient minimum contacts in California,

           or otherwise intentionally avail themselves of the California market so as to render the exercise

           of jurisdiction over them by California courts consistent with traditional notions of fair play
      18 and substantial justice.
      19           4.      Venue is proper in this Court because, upon information and belief, Defendants
      20 maintain offices, have agents, employ individuals, and/or transact business in the State of
      21 California, County of Los Angeles.
      22                                                PARTIES
      23           5.      Defendant CENTERRA GROUP, LLC, at all times herein mentioned, was and
      24 is, an employer whose employees are engaged throughout the State of California, including the
      25 County of Los Angeles.
      26           6.      Defendant CENTERRA SERVICES INTERNATIONAL, INC., at all times
      27 herein mentioned, was and is, an employer whose employees are engaged throughout the State of
      28 California, including the County of Los Angeles.

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                              CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL

                                                                                                      Exhibit A
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       1          7.      Defendant WACKENHUT SERVICES, INC., at all times herein mentioned, was
       2   and is, an employer whose employees are engaged throughout the State of California, including
       3   the County of Los Angeles.
       4          8.      Defendant G4S GOVERNMENT SOLUTIONS, INC., at all times herein
       5   mentioned, was and is, an employer whose employees are engaged throughout the State of
       6   California, including the County of Los Angeles.
       7          9.      At all relevant times, Defendant CENTERRA GROUP, LLC, Defendant
       8   CENTERRA SERVICES INTERNATIONAL, INC., Defendant WACKENHUT SERVICES,
       9   INC., and Defendant G4S GOVERNMENT SOLUTIONS, INC., were the "employer" of
      10 Plaintiff within the meaning of all applicable California laws and statutes.
                  10.     At all times herein relevant, Defendants CENTERRA GROUP, LLC,

           CENTERRA SERVICES INTERNATIONAL, INC., WACKENHUT SERVICES, INC., G4S

           GOVERNMENT SOLUTIONS, INC., and DOES 1 through 100, and each of them, were the

           agents, partners, joint venturers, joint employers, representatives, servants, employees,

           successors-in-interest, co-conspirators and/or assigns, each of the other, and at all times

           relevant hereto were acting within the course and scope of their authority as such agents,

           partners, joint venturers, joint employers, representatives, servants, employees, successors, co-
      18 conspirators and/or assigns, and all acts or omissions alleged herein were duly committed with
      19 the ratification, knowledge, permission, encouragement, authorization and/or consent of each
      20 defendant designated as a DOE herein.
      21          11.     The true names and capacities, whether corporate, associate, individual or
      22 I I otherwise, of defendants DOES 1 through 100, inclusive, are unknown to Plaintiff who sue
      23 said defendants by such fictitious names. Plaintiff is informed and believes, and based on that
      24 information and belief alleges, that each of the defendants designated as a DOE is legally
      25 responsible for the events and happenings referred to in this Complaint, and unlawfully caused
      26 the injuries and damages to Plaintiff and the other class members as alleged in this Complaint.
      27 Plaintiff will seek leave of court to amend this Complaint to show the true names and
      28 capacities when the same have been ascertained.

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       1          12.      Defendant CENTERRA GROUP, LLC, CENTERRA SERVICES
       2 INTERNATIONAL, INC., WACKENHUT SERVICES, INC., G4S GOVERNMENT
       3 SOLUTIONS, INC., and DOES 1 through 100 will hereinafter collectively be referred to as
       4 "Defendants."
       5          13.      Plaintiff further alleges that Defendants directly or indirectly controlled or
       6 affected the working conditions, wages, working hours, and conditions of employment of
       7 Plaintiff and the other class members so as to make each of said Defendants employers liable
       8 under the statutory provisions set forth herein.
       9                                   XMI7.XYT~Y[IlQ[:I011_XW.W[1]i;i."
      10          14.      Plaintiff bring this action on her own behalf and on behalf of all other members
      11   of the general public similarly situated, and, thus, seeks class certification under California
      12 Code of Civil Procedure section 382.

      13          15.      The proposed class is defined as follows:
      14                   All current and former hourly-paid or non-exempt employees who worked for
      15                   any of the Defendants within the State of California at any time during the
      16                   period from four years preceding the filing of this Complaint to final judgment
      17                   and who reside in California.
      18                   (Subclass A) A11 class members who were subject to Defendants' practice of
      19                   rounding time recorded for compensation of regular and overtime wages.
      20                   (Subclass B) All class members who were subject to Defendants' policy to
      21                   require its hourly paid or non-exempt employees to remain on the work
      22                   premises during rest breaks.
      23          16.      Plaintiff reserves the right to establish other subclasses as appropriate.
      24          17.      The class is ascertainable and there is a well-defined community of interest in
      25 the litigation:
      26                   a.       Numerosity: The class members are so numerous that joinder of all class

      27                            members is impracticable. The membership of the entire class is
      28                            unknown to Plaintiff at this time; however, the class is estimated to be

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           1                          greater than fifty (50) individuals and the identity of such membership is

           2                          readily ascertainable by inspection of Defendants' employment records.

           3                 b.       TypicalitX: Plaintiff's claims are typical of all other class members' as

          4I                          demonstrated herein. Plaintiff will fairly and adequately protect the

           5'                         interests of the other class members with whom she has a well-defined

           6                          community of interest.

           7                 C.       AdequacX: Plaintiff will fairly and adequately protect the interests of

           8                          each class member, with whom she has a well-defined community of

           9                          interest and typicality of claims, as demonstrated herein. Plaintiff has no

          10                          interest that is antagonistic to the other class members. Plaintiff's

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          11                          attorneys, the proposed class counsel, are versed in the rules governing
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W ~M      12                          class action discovery, certification, and settlement. Plaintiff has
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H  °      13                          incurred, and during the pendency of this action will continue to incur,
   0
o¢'~      14                          costs and attorneys' fees, that have been, are, and will be necessarily
     U
          15                          expended for the prosecution of this action for the substantial benefit of
W   ~ ~
~o~       16                          each class member.

a         17                 d.       SuperioritX: A class action is superior to other available methods for the

          18                          fair and efficient adjudication of this litigation because individual joinder

          19                          of all class members is impractical.

          20                 e.       Public Policy Considerations: Certification of this lawsuit as a class

          21                          action will advance public policy objectives. Employers of this great

          22                          state violate employment and labor laws every day. Current employees

          23                          are often afraid to assert their rights out of fear of direct or indirect

          24                          retaliation. However, class actions provide the class members who are
          25                          not named in the complaint anonymity that allows for the vindication of
          26                          their rights.

          27          18.    There are common questions of law and fact as to the class members that

          28    predominate over questions affecting only individual members. The following common


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             1 questions of law or fact, among others, exist as to the members of the class:

             2                 a.        Whether Defendants' failure to pay wages, without abatement or
             3                          reduction, in accordance with the California Labor Code, was willful;
             4                 b.        Whether Defendants' had a corporate policy and practice of failing to
             5                          pay their hourly-paid or non-exempt employees within the State of
             6                           California for all hours worked and missed (short, late, interrupted,
             7                          and/or missed altogether) meal periods and rest breaks in violation of
             8                           California law;
             9                 C.        Whether Defendants required Plaintiff and the other class members to
            10                          work over eight (8) hours per day and/or over forty (40) hours per week
v           11                          and failed to pay the legally required overtime compensation to Plaintiff
ao
W~ M        12                          and the other class members;
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            13                 d.        Whether Defendants deprived Plaintiff and the other class members of

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                                         meal and/or rest periods or required Plaintiff and the other class
    v
            15                           members to work during meal and/or rest periods without compensation;

    0       16                 e.        Whether Defendants failed to pay minimum wages to Plaintiff and the
a           17                           other class members for all hours worked;
            18                 f.        Whether Defendants failed to pay all wages due to Plaintiff and the other
            19                           class members within the required time upon their discharge or
            20                           resignation;
            21                 g.        Whether Defendants failed to timely pay all wages due to Plaintiff and
            22                          the other class members during their employment;
            23                 h.        Whether Defendants complied with wage reporting as required by the
            24                           California Labor Code; including, inter alia, section 226;
            25                 i.        Whether Defendants kept complete and accurate payroll records as
            26                           required by the California Labor Code, including, inter alia, section
            27                           1174(d);

            28                 j.        Whether Defendants failed to reimburse Plaintiff and the other class


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            1                           members for necessary business-related expenses and costs;

            2                  k.       Whether Defendants' conduct was willful or reckless;

            3                 1.        Whether Defendants engaged in unfair business practices in violation of
            4                           California Business & Professions Code section 17200, et seq.;
            5                  M.       The appropriate amount of damages, restitution, and/or monetary
            6                           penalties resulting from Defendants' violation of California law; and
            7                  n.       Whether Plaintiff and the other class members are entitled to

            8                           compensatory damages pursuant to the California Labor Code.

            9                                     GENERAL ALLEGATIONS
           10          19.     At all relevant times set forth herein, Defendants employed Plaintiff and other

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           11   persons as hourly-paid or non-exempt employees within the State of California, including the
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  N        12 County of Los Angeles.
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           13          20.     Defendants, jointly and severally, employed Plaintiff as an hourly-paid, non-
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      O
       ~   14   exempt employee, from approximately May 2010 to approximately October 2018, in the State
    ~ U
a~~        15   of California, County of Los Angeles.
W V ~
3 a~       16          21.     Defendants hired Plaintiff and the other class members, classified them as
a          17 hourly-paid or non-exempt employees, and failed to compensate them for all hours worked and

           18   missed meal periods and/or rest breaks.
           19          22.     Defendants had the authority to hire and terminate Plaintiff and the other class
           20 I I members, to set work rules and conditions governing Plaintiff's and the other class members'

           21   employment, and to supervise their daily employment activities.
           22          23.     Defendants exercised sufficient authority over the terms and conditions of
           23 Plaintiff's and the other class members' employment for them to be joint employers of Plaintiff

           24 and the other class members.

           25          24.     Defendants directly hired and paid wages and benefits to Plaintiff and the other
           26   class members.
           27          25.     Defendants continue to employ hourly-paid or non-exempt employees within the
           28   State of California.


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                                                                                                         Exhibit A
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       1          26.     Plaintiff and the other class members worked over eight (8) hours in a day,
       2 and/or forty (40) hours in a week during their employment with Defendants.

       3          27.     Plaintiff is informed and believes, and based thereon alleges, that Defendants
       4 engaged in a pattern and practice of wage abuse against their hourly-paid or non-exempt

       5   employees within the State of California. This pattern and practice involved, inter alia, failing
       6 to pay them for all regular and/or overtime wages earned and for missed meal periods and rest

       7 breaks in violation of California law.

       8          28.     Plaintiff is informed and believes, and based thereon alleges, that Defendants
       9 knew or should have known that Plaintiff and the other class members were entitled to receive

      10   certain wages for overtime compensation and that they were not receiving accurate overtime
      11 compensation for all overtime hours worked.
      12          29.     Plaintiff is informed and believes, and based thereon alleges, that Defendants
      13   failed to provide Plaintiff and the other class members all required rest and meal periods during
      14 the relevant time period as required under the Industrial Welfare Commission Wage Orders

      15 and thus they are entitled to any and all applicable penalties.

      16          30.     Plaintiff is informed and believes, and based thereon alleges, that Defendants
      17 knew or should have known that Plaintiff and the other class members were entitled to receive

      18 all meal periods or payment of one additional hour of pay at Plaintiff's and the other class

      19 member's regular rate of pay when a meal period was missed, and they did not receive all meal
      20 periods or payment of one additional hour of pay at Plaintiff s and the other class member's

      21   regular rate of pay when a meal period was missed.
      22          31.     Plaintiff is informed and believes, and based thereon alleges, that Defendants
      23 knew or should have known that Plaintiff and the other class members were entitled to receive
      24 all rest periods or payment of one additional hour of pay at Plaintiff's and the other class
      25 member's regular rate of pay when a rest period was missed, and they did not receive all rest
      26 periods or payment of one additional hour of pay at Plaintiff's and the other class members'

      27 regular rate of pay when a rest period was missed.
      28   ///


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                            CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL

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           1          32.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

           2 I knew or should have known that Plaintiff and the other class members were entitled to receive

           3 I I at least minimum wages for compensation and that they were not receiving at least minimum

           4 I I wages for all hours worked.

           5          33.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

           6 I I knew or should have known that Plaintiff and the other class members were entitled to receive

           7   all wages owed to them upon discharge or resignation, including overtime and minimum wages

           8   and meal and rest period premiums, and they did not, in fact, receive all such wages owed to

           9   them at the time of their discharge or resignation.

          10          34.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

               knew or should have known that Plaintiff and the other class members were entitled to receive

               all wages owed to them during their employment. Plaintiff and the other class members did

               not receive payment of all wages, including overtime and minimum wages and meal and rest

               period premiums, within any time permissible under California Labor Code section 204.

                      35.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

               knew or should have known that Plaintiff and the other class members were entitled to receive

a         17 complete and accurate wage statements in accordance with California law, but, in fact, they did
          18 not receive complete and accurate wage statements from Defendants. The deficiencies
          19 included, inter alia, the failure to include the total number of hours worked by Plaintiff and the
          20 other class members.
          21          36.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

          22 knew or should have known that Defendants had to keep complete and accurate payroll records
          23 for Plaintiff and the other class members in accordance with California law, but, in fact, did
          24 not keep complete and accurate payroll records.
          25          37.     Plaintiff is informed and believes, and based thereon alleges, that Defendants
          26 knew or should have known that Plaintiff and the other class members were entitled to
          27 reimbursement for necessary business-related expenses.
          28


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                                CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL

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       1           38.     Plaintiff is informed and believes, and based thereon alleges, that Defendants
       2    knew or should have known that they had a duty to compensate Plaintiff and the other class
       3    members pursuant to California law, and that Defendants had the financial ability to pay such
       4    compensation, but willfully, knowingly, and intentionally failed to do so, and falsely
       5    represented to Plaintiff and the other class members that they were properly denied wages, all
       6 I in order to increase Defendants' profits.

       7           39.     During the relevant time period, Defendants failed to pay overtime wages to
       8    Plaintiff and the other class members for all overtime hours worked. Plaintiff and the other

       9    class members were required to work more than eight (8) hours per day and/or forty (40) hours
      10 per week without overtime compensation for all overtime hours worked.
                   40.     During the relevant time period, Defendants failed to provide all requisite

            uninterrupted meal and rest periods to Plaintiff and the other class members.

                   41.     During the relevant time period, Defendants failed to pay Plaintiff and the other

            class members at least minimum wages for all hours worked.

                   42.     During the relevant time period, Defendants failed to pay Plaintiff and the other

           I I class members all wages owed to them upon discharge or resignation.

                   43.     During the relevant time period, Defendants failed to pay Plaintiff and the other
      18 class members all wages within any time permissible under California law, including, inter
      19 alia, California Labor Code section 204.
      20            44.    During the relevant time period, Defendants failed to provide complete or
      21 I I accurate wage statements to Plaintiff and the other class members.
      22            45.    During the relevant time period, Defendants failed to keep complete or accurate
      23 I I payroll records for Plaintiff and the other class members.
      24            46.    During the relevant time period, Defendants failed to reimburse Plaintiff and the
      25 other class members for all necessary business-related expenses and costs.
      26            47.    During the relevant time period, Defendants failed to properly compensate
      27 Plaintiff and the other class members pursuant to California law in order to increase
      28 Defendants' profits.

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       1            48.    California Labor Code section 218 states that nothing in Article 1 of the Labor
       2   Code shall limit the right of any wage clairriant to "sue directly ... for any wages or penalty
       3   due to him [or her] under this article."
       4                                    FIRST CAUSE OF ACTION
       5                       (Violation of California Labor Code §§ 510 and 1198)
       6     (Against CENTERRA GROUP, LLC, CENTERRA SERVICES INTERNATIONAL,
       7 I INC., WACKENHUT SERVICES, INC., G4S GOVERNMENT SOLUTIONS, INC., and

       8                                         DOES 1 through 100)
       9            49.    Plaintiff incorporates by reference the allegations contained in Paragraphs 1
      10 through 48, and each and every part thereof with the same force and effect as though fully set
           forth herein.

                    50.    California Labor Code section 1198 and the applicable Industrial Welfare

           Commission ("IWC") Wage Order provide that it is unlawful to employ persons without

           compensating them at a rate of pay either time-and-one-half or two-times that person's regular

           rate of pay, depending on the number of hours worked by the person on a daily or weekly

           basis.

                    51.    Specifically, the applicable IWC Wage Order provides that Defendants are and
      18 were required to pay Plaintiff and the other class members employed by Defendants, and
      19 working more than eight (8) hours in a day or more than forty (40) hours in a workweek, at the
      20 rate of time-and-one-half for all hours worked in excess of eight (8) hours in a day or more
      21 than forty (40) hours in a workweek.
      22            52.    The applicable IWC Wage Order further provides that Defendants are and were
      23 required to pay Plaintiff and the other class members overtime compensation at a rate of two
      24 times their regular rate of pay for all hours worked in excess of twelve (12) hours in a day.
      25            53.    California Labor Code section 510 codifies the right to overtime compensation
      26 at one-and-one-half times the regular hourly rate for hours worked in excess of eight (8) hours
      27 in a day or forty (40) hours in a week or for the first eight (8) hours worked on the seventh day
      28 of work, and to overtime compensation at twice the regular hourly rate for hours worked in

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              1   excess of twelve (12) hours in a day or in excess of eight (8) hours in a day on the seventh day
              2 of work.
              3          54.     During the relevant time period, Plaintiff and the other class members worked in
              4 excess of eight (8) hours in a day, and/or in excess of forty (40) hours in a week.

              5          55.     During the relevant time period, Defendants intentionally and willfully failed to
              6 pay overtime wages owed to Plaintiff and the other class members.

              7          56.     Defendants' failure to pay Plaintiff and the other class members the unpaid
              8 balance of overtime compensation, as required by California laws, violates the provisions of

              9 California Labor Code sections 510 and 1198, and is therefore unlawful.

             10          57.     Pursuant to California Labor Code section 1194, Plaintiff and the other class
V            11 members are entitled to recover unpaid overtime compensation, as well as interest, costs, and
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  yo         12   attorneys' fees.
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~"~~
        Cd   13                                   SECOND CAUSE OF ACTION
    ~
             14                      (Violation of California Labor Code §§ 226.7 and 512(a))
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    a
             15     (Against CENTERRA GROUP, LLC, CENTERRA SERVICES INTERNATIONAL,
W ~ ~
             16   INC., WACKENHUT SERVICES, INC.; G4S GOVERNMENT SOLUTIONS, INC., and
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a            17                                        DOES 1 through 100)
             18          58.     Plaintiff incorporates by reference the allegations contained in paragraphs 1
             19 through 57, and each and every part thereof with the same force and effect as though fully set

             20 forth herein.

             21          59.     At all relevant times, the IWC Order and California Labor Code sections 226.7
             22 and 512(a) were applicable to Plaintiff's and the other class members' employment by

             23 Defendants.
             24          60.     At all relevant times, California Labor Code section 226.7 provides that no
             25   employer shall require an employee to work during any meal or rest period mandated by an
             26 applicable order of the California lWC.
             27          61.     At all relevant times, the applicable IWC Wage Order and California Labor
             28 Code section 512(a) provide that an employer may not require, cause or permit an employee to


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       1 work for a work period of more than five (5) hours per day without providing the employee

       2   with a meal period of not less than thirty (30) minutes, except that if the total work period per

       3   day of the employee is no more than six (6) hours, the meal period may be waived by mutual

       4   consent of both the employer and employee.

       5          62.     At all relevant times, the applicable IWC Wage Order and California Labor

       6   Code section 512(a) further provide that an employer may not require, cause or permit an

       7   employee to work for a work period of more than ten (10) hours per day without providing the

       8   employee with a second uninterrupted meal,period of not less than thirty (30) minutes, except

       9   that if the total hours worked is no more than twelve (12) hours, the second meal period may

      10 be waived by mutual consent of the employer and the employee only if the first meal period
           was not waived.

                  63.     During the relevant time period, Plaintiff and the other class members who were

           scheduled to work for a period of time no longer than six (6) hours, and who did not waive

           their legally-mandated meal periods by mutual consent, were required to work for periods

           longer than five (5) hours without an uninterrupted meal period of not less than thirty (30)

           minutes and/or rest period.

                  64.     During the relevant time period, Plaintiff and the other class members who were

      18 scheduled to work for a period of time in excess of six (6) hours were required to work for
      19 periods longer than five (5) hours without aii uninterrupted meal period of not less than thirry
      20 (30) minutes and/or rest period.
      21          65.     During the relevant time period, Defendants intentionally and willfully required

      22 Plaintiff and the other class members to work during meal periods and failed to compensate
      23 Plaintiff and the other class members the full meal period premium for work performed during
      24 meal periods.
      25          66.     During the relevant time period, Defendants failed to pay Plaintiff and the other

      26 class members the full meal period premium due pursuant to California Labor Code section
      27 226.7.
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                             CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

                                                                                                     Exhibit A
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       1          67.     Defendants' conduct violates applicable IWC Wage Order and California Labor
       2   Code sections 226.7 and 512(a).
       3          68.     Pursuant to applicable IWC Wage Order and California Labor Code section
       4   226.7(c), Plaintiff and the other class members are entitled to recover from Defendants one
       5   additional hour of pay at the employee's regular rate of compensation for each work day that
       6   the meal or rest period is not provided.
       7                                   THIRD CAUSE OF ACTION
       8                           (Violation of California Labor Code § 226.7)
       9     (Against CENTERRA GROUP, LLC, CENTERRA SERVICES INTERNATIONAL,
      10   INC., WACKENHUT SERVICES, INC., G4S GOVERNMENT SOLUTIONS, INC., and
      11                                        DOES 1 through 100)
      12          69.     Plaintiff incorporates by reference the allegations contained in paragraphs 1
      13 through 68, and each and every part thereof with the same force and effect as though fully set
      14 forth herein.
      15          70.     At all times herein set forth, the applicable IWC Wage Order and California
      16 Labor Code section 226.7 were applicable to Plaintiff's and the other class members'
      17 employment by Defendants.
      18          71.     At all relevant times, California Labor Code section 226.7 provides that no
      19 employer shall require an employee to work during any rest period mandated by an applicable
      20 order of the California lWC.
      21          72.     At all relevant times, the applicable IWC Wage Order provides that "[e]very
      22 employer shall authorize and permit all employees to take rest periods, which insofar as
      23 practicable shall be in the middle of each work period" and that the "rest period time shall be
      24 based on the total hours worked daily at the rate of ten (10) minutes net rest time per four (4)
      25 hours or major fraction thereofl' unless the total daily work time is less than three and one-half
      26 (3 %2) hours.
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                            CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL

                                                                                                  Exhibit A
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       1           73.    During the relevant time period, Defendants required Plaintiff and other class
       2' members to work four (4) or more hours without authorizing or permitting a ten (10) minute
       3   rest period per each four (4) hour period woiiked.
       4           74.    During the relevant time period, Defendants willfully required Plaintiff and the
       5   other class members to work during rest periods and failed to pay Plaintiff and the other class
       6   members the full rest period premium for work performed during rest periods.
       7           75.    During the relevant time period, Defendants failed to pay Plaintiff and the other
       8   class members the full rest period premium due pursuant to California Labor Code section
       9   226.7

      10           76.    Defendants' conduct violates applicable IWC Wage Orders and California
      11   Labor Code section 226.7.
      12           77.    Pursuant to the applicable IWC Wage Orders and California Labor Code section
      13 226.7(c), Plaintiff and the other class members are entitled to recover from Defendants one

      14 additional hour of pay at the employees' regular hourly rate of compensation for each work

      15   day that the rest period was not provided.
      16                                  FOURTH CAUSE OF ACTION
      17                 (Violation of California Labor Code §§ 1194, 1197, and 1197.1)
      18     (Against CENTERRA GROUP, LLC, CENTERRA SERVICES INTERNATIONAL,
      19   INC., WACKENHUT SERVICES, INC., G4S GOVERNMENT SOLUTIONS, INC., and
      20                                        DOES 1 through 100)
      21           78.    Plaintiff incorporates by reference the allegations contained in paragraphs 1
      22 through 77, and each and every part thereof with the same force and effect as though fully set

      23 forth herein.

      24           79.    At all relevant times, California Labor Code sections 1194, 1197, and 1197.1
      25 provide that the minimum wage to be paid tb employees, and the payment of a lesser wage
      26 than the minimum so fixed is unlawful.
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                            CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL

                                                                                                  Exhibit A
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                         80.      During the relevant time period, Defendants failed to pay minimum wage to
             2   I Plaintiff and the other class members as required, pursuant to California Labor Code sections
             3   11194, 1197, and 1197.1.
             4           81.      Defendants' failure to pay Plaintiff and the other class members the minimum
             5    wage as required violates California Labor Code sections 1194, 1197, and 1197.1. Pursuant to
             6   I those sections Plaintiff and the other class members are entitled to recover the unpaid balance
             7   I of their minimum wage compensation as well as interest, costs, and attorney's fees, and
             8    liquidated damages in an amount equal to the wages unlawfully unpaid and interest thereon.
             9           82.      Pursuant to California Labor Code section 1197.1, Plaintiff and the other class
            T members are entitled to recover a penalty of $100.00 for the initial failure to timely pay each

u           11    employee minimum wages, and $250.00 for each subsequent failure to pay each employee
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U N_~ M     12 minimum wages.
        ~   13           83.      Pursuant to California Labor Code section 1194.2, Plaintiff and the other class
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o¢'~
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            14   I members are entitled to recover liquidated damages in an amount equal to the wages
a ~ -9      15    unlawfully unpaid and interest thereon.
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    0       16                                     FIFTH CAUSE OF ACTION
a           17                         (Violation of California Labor Code §§ 201 and 202)
            18      (Against CENTERRA GROUP, LLC, CENTERRA SERVICES INTERNATIONAL,
            19    INC., WACKENHUT SERVICES, INC., G4S GOVERNMENT SOLUTIONS, INC., and
            20                                         DOES 1 through 100)
            21           84.      Plaintiff incorporates by reference the allegations contained in paragraphs 1
            22 through 83, and each and every part thereof with the same force and effect as though fully set

            23    forth herein.
            24           85.      At all relevant times herein set forth, California Labor Code sections 201 and
            25    202 provide that if an employer discharges an employee, the wages earned and unpaid at the
            26    time of discharge are due and payable immediately, and if an employee quits his or her
            27    employment, his or her wages shall become due and payable not later than seventy-two (72)
            28    hours thereafter, unless the employee has given seventy-two (72) hours' notice of his or her


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                                    CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

                                                                                                          Exhibit A
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       1 intention to quit, in which case the employee is entitled to his or her wages at the time of

       2   quitting.
       3          86.     During the relevant time period, Defendants intentionally and willfully failed to
       4   pay Plaintiff and the other class members who are no longer employed by Defendants their
       5   wages, earned and unpaid, within seventy-two (72) hours of their leaving Defendants' employ.
       6          87.     Defendants' failure to pay Plaintiff and the other class members who are no
       7   longer employed by Defendants' their wages, earned and unpaid, within seventy-two (72)

       8   hours of their leaving Defendants' employ, is in violation of California Labor Code sections
       9   201 and 202.
      10          88.     California Labor Code section 203 provides that if an employer willfully fails to

           pay wages owed, in accordance with sections 201 and 202, then the wages of the employee

           shall continue as a penalty from the due date thereof at the same rate until paid or until an
           action is commenced; but the wages shall not continue for more than thirty (30) days.

                  89.     Plaintiff and the other class members are entitled to recover from Defendants the

           statutory penalty wages for each day they were not paid, up to a thirty (30) day maximum

           pursuant to California Labor Code section 203.

                                            SIXTH CAUSE OF ACTION
      18                             (Violation of California Labor Code § 204)
      19     (Against CENTERRA GROUP, LLC, CENTERRA SERVICES INTERNATIONAL,
      20   INC., WACKENHUT SERVICES, INC.; G4S GOVERNMENT SOLUTIONS, INC., and
      21                                        DOES 1 through 100)
      22          90.     Plaintiff incorporates by reference the allegations contained in paragraphs 1
      23 through 89, and each and every part thereof with the same force and effect as though fully set
      24 forth herein.
      25          91.     At all times herein set forth, California Labor Code section 204 provides that all
      26 wages earned by any person in any employment between the 1st and 15th days, inclusive, of
      27 any calendar month, other than those wages due upon termination of an employee, are due and
      28

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                            CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL

                                                                                                    Exhibit A
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           1 I payable between the 16th and the 26th day of the month during which the labor was

           2 I performed.

           3           92.      At all times herein set forth, California Labor Code section 204 provides that all
           4    wages earned by any person in any employment between the 16th and the last day, inclusive,
           5    of any calendar month, other than those wages due upon termination of an employee, are due
           6    and payable between the 1 st and the l Oth day of the following month.
           7           93.      At all times herein set forth, California Labor Code section 204 provides that all
           8 I wages earned for labor in excess of the normal work period shall be paid no later than the

           9    payday for the next regular payroll period.
          10           94.      During the relevant time period, Defendants intentionally and willfully failed to

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          11    pay Plaintiff and the other class members all wages due to them, within any time period
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u 5o      12    permissible under California Labor Code section 204.

      ~   13           95.      Plaintiff and the other class members are entitled to recover all remedies
      0
          14 I available for violations of California Labor Code section 204.
~   ~ U
          15                                   SEVENTH CAUSE OF ACTION
W ~ ~
30~       16                             (Violation of California Labor Code § 226(a))
a         17      (Against CENTERRA GROUP, LLC, CENTERRA SERVICES INTERNATIONAL,
           18 I INC., WACKENHUT SERVICES, INC., G4S GOVERNMENT SOLUTIONS, INC., and

           19                                         DOES 1 through 100)
          20           96.      Plaintiff incorporates by reference the allegations contained in paragraphs 1
          21    through 95, and each and every part thereof with the same force and effect as though fully set
          22    forth herein.
          23           97.      At all material times set forth herein, California Labor Code section 226(a)
          24    provides that every employer shall furnish each of his or her employees an accurate itemized
          25    statement in writing showing (1) gross wages earned, (2) total hours worked by the employee,
          26    (3) the number of piece-rate units earned and any applicable piece rate if the employee is paid
          27    on a piece-rate basis, (4) all deductions, provided that all deductions made on written orders of
          28    the employee may be aggregated and shown as one item, (5) net wages earned, (6) the


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                                  CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL

                                                                                                         Exhibit A
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              1   inclusive dates of the period for which the employee is paid, (7) the name of the employee and
              2 his or her social security number, (8) the name and address of the legal entity that is the
              3   employer, and (9) all applicable hourly rates in effect during the pay period and the
              4 corresponding number of hours worked at each hourly rate by the employee. The deductions
              5 made from payments of wages shall be recorded in ink or other indelible form, properly dated,

              6 showing the month, day, and year, and a copy of the statement or a record of the deductions

              7 shall be kept on file by the employer for at least three years at the place of employment or at a

              8 central location within the State of California.

              9          98.     Defendants have intentionally and willfully failed to provide Plaintiff and the
             10   other class members with complete and accurate wage statements. The deficiencies include,
V            11   but are not limited to: the failure to include the total number of hours worked by Plaintiff and
ao
W~ M         12 the other class members.
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~ ~ ~        13          99.     As a result of Defendants' violation of California Labor Code section 226(a),
~¢' ~        14 Plaintiff and the other class members have suffered injury and damage to their statutorily-
~   ~ U
    b
                  protected rights.
W V ~
    0        16          100.    More specifically, Plaintiff and the other class members have been injured by
a            17 Defendants' intentional and willful violation of California Labor Code section 226(a) because

             18 they were denied both their legal right to receive, and their protected interest in receiving,

             19 accurate and itemized wage statements pursuant to California Labor Code section 226(a).

             20          101.    Plaintiff and the other class members are entitled to recover from Defendants the
             21   greater of their actual damages caused by Defendants' failure to comply with California Labor
             22   Code section 226(a), or an aggregate penalty not exceeding four thousand dollars per
             23   employee.
             24          102.    Plaintiff and the other class members are also entitled to injunctive relief to
             25   ensure compliance with this section, pursuant to California Labor Code section 226(h).
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                                      CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL

                                                                                                           Exhibit A
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       1                                    EIGHTH CAUSE OF ACTION
       2                            (Violation of California Labor Code § 1174(d))
       3     (Against CENTERRA GROUP, LLC, CENTERRA SERVICES INTERNATIONAL,
       4   INC., WACKENHUT SERVICES, INC., G4S GOVERNMENT SOLUTIONS, INC., and
       5                                         DOES 1 through 100)
       6          103.     Plaintiff incorporates by reference the allegations contained in paragraphs 1
       7   through 102, and each and every part thereof with the same force and effect as though fully set
       8   forth herein.
       9          104.     Pursuant to California Labor Code section 1174(d), an employer shall keep, at a
      10 central location in the state or at the plants or establishments at which employees are

      11   employed, payroll records showing the hours worked daily by and the wages paid to, and the
      12 number of piece-rate units earned by and any applicable piece rate paid to, employees

      13 employed at the respective plants or establishments. These records shall be kept in accordance

      14 with rules established for this purpose by the commission, but in any case shall be kept on file

      15 for not less than two years.

      16          105.     Defendants have intentionally and willfully failed to keep accurate and complete
      17 payroll records showing the hours worked daily and the wages paid, to Plaintiff and the other

      18 class members.

      19          106.     As a result of Defendants' violation of California Labor Code section 1174(d),
      20 Plaintiff and the other class members have suffered injury and damage to their statutorily-

      21   protected rights.
      22          107. ' More specifically, Plaintiff and the other class members have been injured by
      23 Defendants' intentional and willful violation of California Labor Code section 1174(d) because
      24 they were denied both their legal right and protected interest, in having available, accurate and
      25 complete payroll records pursuant to California Labor Code section 1174(d).
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                               CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL

                                                                                                   Exhibit A
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       1                                    NINTH CAUSE OF ACTION
       2                       (Violation of California Labor Code §§ 2800 and 2802)
       3     (Against CENTERRA GROUP, LLC, CENTERRA SERVICES INTERNATIONAL,
       4   INC., WACKENHUT SERVICES, INC., G4S GOVERNMENT SOLUTIONS, INC., and
       5                                        DOES 1 through 100)
       6          108.     Plaintiff incorporates by reference the allegations contained in paragraphs 1
       7   through 107, and each and every part thereof with the same force and effect as though fully set
       8   forth herein.

       9          109.     Pursuant to California Labor Code sections 2800 and 2802, an employer must
      10 reimburse its employee for all necessary expenditures incurred by the employee in direct

      11   consequence of the discharge of his or her job duties or in direct consequence of his or her
      12 obedience to the directions of the employer.

      13          110.     Plaintiff and the other class members incurred necessary business-related
      14 expenses and costs that were not fully reimbursed by Defendants.

      15          111.     Defendants have intentionally and willfully failed to reimburse Plaintiff and the
      16 other class members for all necessary business-related expenses and costs.

      17          112.     Plaintiff and the other class members are entitled to recover from Defendants
      18 their business-related expenses and costs incurred during the course and scope of their

      19 employment, plus interest accrued from the date on which the employee incurred the necessary

      20 expenditures at the same rate as judgments in civil actions in the State of California.

      21                                   TENTH CAUSE OF ACTION
      22             (Violation of California Business & Professions Code §§ 17200, et seq.)
      23     (Against CENTERRA GROUP, LLC, CENTERRA SERVICES INTERNATIONAL,
      24   INC., WACKENHUT SERVICES, INC., G4S GOVERNMENT SOLUTIONS, INC., and
      25                                        DOES 1 through 100)
      26          113.     Plaintiff incorporates by reference the allegations contained in paragraphs 1
      27 through 112, and each and every part thereof with the same force and effect as though fully set
      28 forth herein.


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                             CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL

                                                                                                   Exhibit A
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       1          114.    Defendants' conduct, as alleged herein, has been, and continues to be, unfair,
       2   unlawful and harmful to Plaintiff, other class members, to the general public, and Defendants'
       3   competitors. Accordingly, Plaintiff seek to enforce important rights affecting the public
       4   interest within the meaning of Code of Civil Procedure section 1021.5.
       5          115.    Defendants' activities as alleged herein are violations of California law, and
       6 I I constitute unlawful business acts and practices in violation of California Business &

       7 I I Professions Code section 17200, et seq.

       8          116.    A violation of California Business & Professions Code section 17200, et seq.
       9   may be predicated on the violation of any state or federal law. In this instant case, Defendants'
      10 I policies and practices of requiring employees, including Plaintiff and the other class members,
           to work overtime without paying them proper compensation violate California Labor Code

           sections 510 and 1198. Additionally, Defendants' policies and practices of requiring

           employees, including Plaintiff and the other, class members, to work through their meal and
           rest periods without paying them proper compensation violate California Labor Code sections

           226.7 and 512(a). Defendants' policies and practices of failing to pay minimum wages violate

           California Labor Code sections 1194, 1197, and 1197.1. Moreover, Defendants' policies and

           practices of failing to timely pay wages to Plaintiff and the other class members violate
      18 California Labor Code sections 201, 202 and 204. Defendants also violated California Labor
      19 Code sections 226(a), 1174(d), 2800 and 2802.
      20          117.    As a result of the herein described violations of California law, Defendants
      21   unlawfully gained an unfair advantage over other businesses.
      22          118.    Plaintiff and the other class members have been personally injured by
      23 I Defendants' unlawful business acts and practices as alleged herein, including but not
      24 necessarily limited to the loss of money and/or property.
      25          119.    Pursuant to California Business & Professions Code sections 17200, et seq.,
      26 Plaintiff and the other class members are entitled to restitution of the wages withheld and
      27 retained by Defendants during a period that commences four years preceding the filing of this
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                            CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL

                                                                                                     Exhibit A
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            1   Complaint; an award of attorneys' fees pursuant to California Code of Civil procedure section
            2 1021.5 and other applicable laws; and an award of costs.
            3                                   DEMAND FOR JURY TRIAL
            4          Plaintiff, individually, and on behalf of other members of the general public similarly
            5 situated, requests a trial by jury.

            6                                       PRAYER FOR RELIEF

            7          WHEREFORE, Plaintiff, individually, and on behalf of other members of the general
            8 public similarly situated, prays for relief and judgment against Defendants, jointly and

            9 severally, as follows:

           10                                          Class Certification
V          11          1.      That this action be certified as a class action;
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~          12          2.      That Plaintiff be appointed as the representative of the Class;
  ~~
~     °'   13          3.      That counsel for Plaintiff be appointed as Class Counsel; and
           14          4.      That Defendants provide to Class Counsel immediately the names and most
~   ~ U
           15 current/last known contact information (address, e-mail and telephone numbers) of all class
w N ~
~3
 0 ~       16 members.

a          17                                   As to the First Cause of Action

           18          5.      That the Court declare, adjudge and decree that Defendants violated California
           19 Labor Code sections 510 and 1198 and applicable IWC Wage Orders by willfully failing to pay

           20   all overtime wages due to Plaintiff and the other class members;
           21          6.      For general unpaid wages at overtime wage rates and such general and special
           22 damages as may be appropriate;

           23          7.      For pre judgment interest on any unpaid overtime compensation commencing
           24 from the date such amounts were due;

           25          8.      For reasonable attorneys' fees and costs of suit incurred herein pursuant to
           26   California Labor Code section 1194; and
           27          9.      For such other and further relief as the Court may deem just and proper.
           28   ///



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                                 CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL

                                                                                                         Exhibit A
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       1                                 As to the Second Cause of Action
       2          10.     That the Court declare, adjudge and decree that Defendants violated California
       3   Labor Code sections 226.7 and 512 and applicable IWC Wage Orders by willfully failing to
       4 provide all meal periods (including second meal periods) to Plaintiff and the other class

       5   members;
       6          11.     That the Court make an award to Plaintiff and the other class members of one
       7   (1) hour of pay at each employee's regular rate of compensation for each workday that a meal
       8   period was not provided;

       9          12.     For all actual, consequential, and incidental losses and damages, according to
      10 proof;

      11          13.     For premium wages pursuant to California Labor Code section 226.7(c);
      12          14.     For pre judgment interest on any unpaid wages from the date such amounts
      13 were due;

      14          15.     For reasonable attorneys' fees and costs of suit incurred herein; and
      15          16.     For such other and further relief as the Court may deem just and proper.
      16                                  As to the Third Cause of Action
      17          17.     That the Court declare, adjudge and decree that Defendants violated California
      18 Labor Code section 226.7 and applicable IWC Wage Orders by willfully failing to provide all

      19 rest periods to Plaintiff and the other class tiiembers;

      20          18.     That the Court make an award to Plaintiff and the other class members of one
      21   (1) hour of pay at each employee's regular rate of compensation for each workday that a rest
      22 period was not provided;

      23          19.     For all actual, consequential, and incidental losses and damages, according to
      24 proof;
      25          20.     For premium wages pursuant to California Labor Code section 226.7(c);
      26          21.     For pre judgment interest on any unpaid wages from the date such amounts
      27 were due; and
      28          22.     For such other and further relief as the Court may deem just and proper.


                                                          24
                            CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL

                                                                                                  Exhibit A
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           1                                     As to the Fourth Cause of Action
           2            23.       That the Court declare, adjudge and decree that Defendants violated California
           3    Labor Code sections 1194, 1197, and 1197.1 by willfully failing to pay minimum wages to
           4    Plaintiff and the other class members;
           5            24.       For general unpaid wages and such general and special damages as may be
           6    appropriate;
           7            25.       For statutory wage penalties pursuant to California Labor Code section 1197.1
           8    for Plaintiff and the other class members in the amount as may be established according to

           9    proof at trial;
          101           26.       For pre judgment interest on any unpaid compensation from the date such

                I amounts were due;

                        27.       For reasonable attorneys' fees and costs of suit incurred herein pursuant to

                California Labor Code section 1194(a);

                        28.       For liquidated damages pursuant to California Labor Code section 1194.2; and

                        29.       For such other and further relief as the Court may deem just and proper.

                                                  As to the Fifth Cause of Action
a         17            30.       That the Court declare, adjudge and decree that Defendants violated California
          18 Labor Code sections 201, 202, and 203 by willfully failing to pay all compensation owed at the

          19 time of termination of the employment of Plaintiff and the other class members no longer

          20 employed by Defendants;

          21            31.       For all actual, consequential, and incidental losses and damages, according to
          22 proof;

          23            32.       For statutory wage penalties pursuant to California Labor Code section 203 for
          24 Plaintiff and the other class members who have left Defendants' employ;

          25            33.       For pre judgment interest on any unpaid compensation from the date such
          26 amounts were due; and

          27            34.       For such other and further relief as the Court may deem just and proper.
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                                    CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL

                                                                                                           Exhibit A
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       1                                     As to the Sixth Cause of Action
       2              35.   That the Court declare, adjudge and decree that Defendants violated California
       3   Labor Code section 204 by willfully failing to pay all compensation owed at the time required
       4   by California Labor Code section 204 to Plaintiff and the other class members;
       5              36.   For all actual, consequential, and incidental losses and damages, according to
       6 I I proof;

       7              37.   For pre judgment interest on any unpaid compensation from the date such
       8   amounts were due; and
       9              38.   For such other and further relief as the Court may deem just and proper.
      10                                   As to the Seventh Cause of Action
                      39.   That the Court declare, adjudge and decree that Defendants violated the record
           keeping provisions of California Labor Code section 226(a) and applicable IWC Wage Orders

           as to Plaintiff and the other class members, and willfully failed to provide accurate itemized

           wage statements thereto;

                      40.   For actual, consequential and incidental losses and damages, according to proof;

                      41.   For statutory penalties pursuant to California Labor Code section 226(e);

                      42.   For injunctive relief to ensure compliance with this section, pursuant to
      18 California Labor Code section 226(h); and
      19              43.   For such other and further relief as the Court may deem just and proper.
      20                                    As to the Ei2hth Cause of Action
      21              44.   That the Court declare, adjudge and decree that Defendants violated California
      22 Labor Code section 1174(d) by willfully failing to keep accurate and complete payroll records
      23 for Plaintiff and the other class members as required by California Labor Code section
      24 1174(d);
      25              45.   For actual, consequential and incidental losses and damages, according to proof; 'I
      26              46.   For statutory penalties pursuant to California Labor Code section 1174.5; and
      27              47.   For such other and further relief as the Court may deem just and proper.
      28


                                                            26
                              CLASs ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

                                                                                                        Exhibit A
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                                                                                                       Exhibit A


       1                                    As to the Ninth Cause of Action
       2          48.      That the Court declare, adjudge and decree that Defendants violated California

       3   Labor Code sections 2800 and 2802 by willfully failing to reimburse Plaintiff and the other

       4   class members for all necessary business-related expenses as required by California Labor

       5   Code sections 2800 and 2802;

       6          49.      For actual, consequential and incidental losses and damages, according to proof;

       7          50.      For the imposition of civil penalties and/or statutory penalties;

       8          51.      For reasonable attorneys' fees and costs of suit incurred herein; and

       9          52.      For such other and further relief as the Court may deem just and proper.

      10                                   As to the Tenth Cause of Action

      11          53.      That the Court decree, adjudge and decree that Defendants violated California

      12 Business and Professions Code sections 17200, et seq. by failing to provide Plaintiff and the

      13 other class members all overtime compensation due to them, failing to provide all meal and

      14 rest periods to Plaintiff and the other class members, failing to pay at least minimum wages to

      15 Plaintiff and the other class members, failing to pay Plaintiff's and the other class members'

      16 wages timely as required by California Labor Code section 201, 202 and 204 and by violating

      17 California Labor Code sections 226(a), 1174(d), 2800 and 2802.

      18          54.      For restitution of unpaid wages to Plaintiff and all the other class members and

      19 all pre judgment interest from the day such amounts were due and payable;

      20          55.      For the appointment of a receiver to receive, manage and distribute any and all

      21   funds disgorged from Defendants and determined to have been wrongfully acquired by

      22 Defendants as a result of violation of California Business and Professions Code sections

      23 17200, et seq.;
      24          56.      For reasonable attorneys' fees and costs of suit incurred herein pursuant to
      25 California Code of Civil Procedure section 1021.5;
      26          57.      For injunctive relief to ensure compliance with this section, pursuant to

      27 California Business and Professions Code sections 17200, et seq.; and
      28


                                                           27
                             CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR 7URY TRIAL

                                                                                                       Exhibit A
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                                                                                                    Exhibit A


       1         58.     For such other and further relief as the Court may deem just and proper.
       2                                                      LAWYERS for JUSTICE, PC
           Dated: February 23, 2021
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       4                                                 By: 4A~ -                - f--
       5                                                     Edwin Aiwaz'
                                                             Attorneysfor Plaintiff
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                           CLASs ACTIOIV COMPLAINI' NORDAMAGGS AND DEMAND FOR JURY TRIAL
                                                                                                    Exhibit A
